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 Attorneys for Creditor F3 Metalworx, Inc.

                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 __________________________________
 In re:                                     Chapter 11
                               1
 BED BATH & BEYOND INC., et al              Case No. 23-13359 (VFP)
                                            (Jointly Administered)
                         Debtors
 __________________________________   Hearing Date: October 24, 2023



             REPLY DECLARATION OF MERRILL M. O’BRIEN, ESQ.,
   IN FURTHER SUPPORT OF CREDITOR F3 METALWORX, INC.’S MOTION FOR
  THE ALLOWANCE AND PAYMENT OF POST-PETITION STORAGE CHARGES OF
  $23,437 THROUGH OCTOBER 2023 AS AN ADMINISTRATIVE EXPENSE AND FOR
     PAYMENT OF $3,750 PER MONTH AS A CONTINUING ORDINARY COURSE
                        ADMINISTRATIVE EXPENSE

          Pursuant to 28 U.S.C. 1746(2), Merrill M. O’Brien, declares the following to be true:




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the web site
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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        1.      On September 28, 2023, Creditor F3 Metalworx, Inc. (“F3”), by and through its

 undersigned counsel, filed its motion for the allowance and payment of post-petition storage

 charges of $23,437 through October 2023 as an administrative expense and for payment of $3,750

 per month as a continuing ordinary course administrative expense [Doc. 2309] (the “Motion”).

         2.      Pursuant to the Court’s April 25, 2023 Order Establishing Certain Notice, Case

  Management, and Administrative Procedures, Doc 98 (“4/25/2023 Case Management Order”),

  F3’s Notice of Motion informed all parties that the deadline to file objections and responses to

  the Motion was October 17, 2023 (“the Objection Deadline”).

         3.      As certified in F3’s Certificate of No Objection, Doc 2506, filed October 18, 2023,

  Ex. A hereto, no party filed an objection to F3’s Motion.

         4.      On October 19, 2023, Michael Goldberg, as plan administrator, filed a self-

  described “preliminary objection and reservation of rights” (“Late Objection”) as a purported late

  objection to F3’s Motion.

                              The Court Should Disregard The Late Objection.

         5.      The 4/25/2023 Case Management Order, Doc 98, para. 10, states, “Any party may

  move for modification of this Order in accordance with Local Rule 9013-5(e).” In addition, in

  the Case Management Procedures approved by and attached to the Order, p. 20 of Doc 98, para.

  3 entitled "Extensions of Time” provides the procedure for seeking and obtaining extensions of

  time, and p. 21, para. 5 permits “any party may at any time apply for reconsideration or

  modification of the Order approving these Case Management Procedures.”

         6.      To my knowledge, no party has moved for reconsideration or a modification of the

  4/25/2023 Case Management Order, Doc 98, and no party has moved for an extension of time to

  file an objection to F3’s Motion.
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          7.      Significantly, the Late Objection offers no explanation at all for the late filing, does

  not even address its violation of the Case Management Order, and fails to even suggest a reason

  why the plan administrator should receive the proverbial “free pass” from the rules which apply

  to all other parties.

          8.      Accordingly, the Court should disregard the untimely Objection filed by Mr.

  Goldberg because there is no reason to grant the plan administrator a de facto modification of the

  Case Management Order which has been in effect for almost six months.


         Even If The Court Were To Consider The Late Objection, Which It Should Not,
  The Court Should Grant F3’s Motion Because The Late Objection Offers No Facts Which
                 Rebut The Paglia Declaration And The Exhibits Thereto.


          9.      The Court should also grant the motion because the Late Objection contains no

  facts which rebut the facts presented by F3’s President and CEO Jason S. Paglia in his September

  28, 2023 Declaration, Doc2309-1 (“Paglia Dec.”). The Motion record establishes that it is

  undisputed that Bed, Bath, & Beyond, Inc. agreed with F3 to a storage agreement, and that BBB

  has stored, and continues to store, 125 pallets of BBB’s Valance Bands. Paglia Dec. para. 12. The

  storage is substantial. BBB’s prior warehouse storage services vendor, Calber Global, estimated

  that BBB’s pallets constituted 20 truckloads. See Paglia Dec. paras. 7-10, and Exs. thereto.

          10.     It is also undisputed that BBB has had the ability to issue a Rejection Notice to F3,

  and that BBB has not done so. See 9/14/2023 Order approving Plan and Disclosure Statement,

  Doc 2172, p. 117. In addition, BBB has also done nothing to abandon the Valance Bands, which

  F3 is obligated to maintain under the Bankruptcy Code because they are part of the estate.

          11.     The Late Objection makes no mention of any plans to remove the Valance Bands

  from F3’s warehouse. As for notice of the ongoing storage charges, BBB has had notice of F3’s
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  Administrative Claim since at least July 7, 2023, in the form of F3’s filed Claim. (See below and

  Ex. B hereto.) In addition, as late as August 2023, BBB’s Manager – Store Set Up, Tom Campbell,

  was inquiring about the Valance Bands location, pallet count, and packaging. Paglia Dec. Ex. G.

  This communication is consistent with BBB wanting and having access to its property which F3

  is storing.

          12.       The storage agreement underlying F3’s Motion is supported by consideration, and

  the fees BBB agreed to pay are reasonable. Paglia Dec. para. 17. Furthermore, the storage

  services F3 has provided – and continues to provide – has allowed BBB to offer the Valance

  Bands shelving which it owns as an amenity to other retailers which are potential purchasers of

  BBB’s retail leaseholds, from before the petition filing date through the present. Paglia Dec. para.

  18.

          13.       In short, Mr. Goldberg’s Objection offers no facts whatsoever regarding the

  subject storage agreement, or BBB’s continued storage of its property at F3’s warehouse, or

  BBB’s plans to remove the huge volume of goods it is storing.

          14.       Instead, the Late Objection states wrongly that “Claimant did not file an

  Administrative Expense Claim for amounts incurred through July or August by August 15, 2023,

  or September 15, 2023, respectively. Claimant filed the Administrative Claim covering the entire

  post-petition period (and “through October 2023”) on the Effective Date.” Objection paras. 5-6.

          15.        Attached hereto as Ex. B are the following:

                   Kroll Restructuring Administration’s 9/11/23 record of F3’s Claim # 12397 which

                    clearly shows F3’s “Admin Priority” Claim “Date Filed 07/07/2023” in the

                    amount of $88,304 along with F3’s General Unsecured Claim of $2,155,254.77.
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                     F3’s signed 07/07/2023 Claim indicating the $3,750 per month storage charges

                      continue to accrue; and

                     The undersigned’s 10/6/2023 cover letter to Kroll, with 10/6/2023 Amendment to

                      F3 Claim, which the undersigned mailed pursuant to Kroll’s claim instructions.

            16.       Thus, the Late Objection’s procedural defense based on filing deadlines, is not

     only extremely hypocritical, but also is factually wrong. Critically, the Late Objection contains

     no facts regarding the substantive agreement and the debtor’s continued storage of BBB’s

     property at F3.2

            17.       In short, both procedurally and substantively, even if the Court were to overlook

     the lateness of the Objection, which it should not do, the Objection provides no factual basis to

     deny F3’s Motion.



 Dated: October 20, 2023                                  s/Merrill O’Brien




 2
   Affidavits of attorneys without personal knowledge are insufficient to rebut admissible
 evidence or to defeat motions based on admissible evidence. Fed. R. Civ. Pro. 56(c)4. The same
 is true in New Jersey state courts, to the extent N.J. procedural law governs the F3/BBB storage
 agreement. “Affidavits by attorneys of facts not based on their personal knowledge . . . constitute
 objectionable hearsay.” See Comment to R. 1:6-6, N.J. Court Rules Annotated, Pressler &
 Verniero, 2023 Edition, p. 68, and the numerous cases cited therein.
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 Attorneys for Creditor F3 Metalworx, Inc.

                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 __________________________________
 In re:                                     Chapter 11
                               1
 BED BATH & BEYOND INC., et al              Case No. 23-13359 (VFP)
                                            (Jointly Administered)
                         Debtors
 __________________________________   Hearing Date: October 24, 2023



 CERTIFICATION OF NO OBJECTION REGARDING CREDITOR F3 METALWORX,
   INC.’S MOTION FOR THE ALLOWANCE AND PAYMENT OF POST-PETITION
        STORAGE CHARGES OF $23,437 THROUGH OCTOBER 2023 AS AN
  ADMINISTRATIVE EXPENSE AND FOR PAYMENT OF $3,750 PER MONTH AS A
         CONTINUING ORDINARY COURSE ADMINISTRATIVE EXPENSE



          1.       On September 28, 2023, Creditor F3 Metalworx, Inc. (“Movant”), by and through

 its undersigned counsel, filed its motion for the allowance and payment of post-petition storage



 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the web site
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
 Avenue, Union, New Jersey 07083.



                                Exhibit A to 10.20.2023 DECLARATION OF MERRILL M. O'BRIEN
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 charges of $23,437 through October 2023 as an administrative expense and for payment of $3,750

 per month as a continuing ordinary course administrative expense [Doc. 2309] (the “Motion”).

         2.      The deadline for parties to file objections and responses to the Motion was October

  17, 2023 (“the Objection Deadline”). To the best of the undersigned’s knowledge, no objections

  or responses to the Motion were filed on the docket on or before the Objection Deadline. Further,

  Movant’s Counsel has not received any informal responses to the Motion.

         3.      The proposed order (the “Proposed Order”) that was appended to the Motion is

  attached hereto as Exhibit A. Movant therefore respectfully requests that, consistent with the

  Court’s April 25, 2023 Order Establishing Certain Notice, Case Management, and Administrative

  Procedures, Doc 98, the Court enter the attached Proposed Order at the earliest convenience of

  the Court.



                                                      O’Brien Thornton LLC
                                                      Attorneys for Creditor F3 Metalworx, Inc.

 Dated: October 18, 2023                              s/Merrill O’Brien
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                                                      973-886-8853

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               UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF NEW JERSEY
 __________________________________
 In re:                             Chapter 11
 BED BATH & BEYOND INC., et al      Case No. 23-13359 (VFP)
                                    (Jointly Administered)
                              1
                      Debtors.
 __________________________________


  ORDER GRANTING MOTION BY CREDITOR F3 METALWORX, INC.
     FOR THE ALLOWANCE AND PAYMENT OF POST-PETITION
   STORAGE CHARGES OF $23,437 THROUGH OCTOBER 2023 AS AN
    ADMINISTRATIVE EXPENSE AND FOR PAYMENT OF $3,750 PER
  MONTH GOING FORWARD AS A CONTINUING ORDINARY COURSE
                 ADMINISTRATIVE EXPENSE



   The relief set forth on the following pages, numbered two through four (2-4), is

                                        ORDERED.




 Dated:
                                            ____________________________________
                                                    Hon. Vincent F. Papalia
                                                 United States Bankruptcy Judge


       1
         The last four digits of Debtor Bed Bath & Beyond Inc.'s tax identification number are
   0488. A complete list ofthe Debtors in these Chapter 11 Cases and each such Debtor's tax
   identification number may be obtained on the website of the Debtors' claims and noticing agent
   at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath & Beyond Inc.'s
   principal place of business and the Debtors' service address in these Chapter 11 Cases is 650
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 Debtors: BED BATH & BEYOND INC., et al.
 Case No. 23-13359-VFP
 Caption of Order: ORDER GRANTING MOTION BY CREDITOR F3 METALWORX,
 INC.FOR THE ALLOWANCE AND PAYMENT OF POST-PETITION STORAGE CHARGES
 OF $23,437 THROUGH OCTOBER 2023 AS AN ADMINISTRATIVE EXPENSE AND FOR
 PAYMENT OF $3,750 PER MONTH GOING FORWARD AS A CONTINUING ORDINARY
 COURSE ADMINISTRATIVE EXPENSE
 __________________________________________________________________

       THIS MATTER having come before the Court on motion by Creditor F3

 Metalworx, Inc., for an Order for the allowance and payment of post-petition storage

 charges of $23,437 through October 2023 as an Administrative Expense Claim, and

 for payment of $3,750 per month going forward as a continuing ordinary course

 administrative expense pursuant to 11 U.S.C. §§ 503(b)(1)(A) and 507(a), and the

 Court having reviewed the September 28, 2023 Declaration of Jason Paglia, and the

 Exhibits thereto, and F3 Metalworx, Inc.’s memorandum of law in support of the

 motion, and the papers submitted in opposition to the motion, and having heard oral

 argument, and after due consideration and for good cause shown, the Court finds

 that: (i) it has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C.

 §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

 (iii) proper and adequate notice of the Motion and hearing thereon has been given

 and that no other or further notice is necessary; (iv) upon consideration of the Motion

 and the relief requested and this Court having determined that the legal and factual

 bases set forth in the Motion establish just cause for the relief granted herein,

       IT IS hereby


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 Debtors: BED BATH & BEYOND INC., et al.
 Case No. 23-13359-VFP
 Caption of Order: ORDER GRANTING MOTION BY CREDITOR F3 METALWORX,
 INC.FOR THE ALLOWANCE AND PAYMENT OF POST-PETITION STORAGE CHARGES
 OF $23,437 THROUGH OCTOBER 2023 AS AN ADMINISTRATIVE EXPENSE AND FOR
 PAYMENT OF $3,750 PER MONTH GOING FORWARD AS A CONTINUING ORDINARY
 COURSE ADMINISTRATIVE EXPENSE
 __________________________________________________________________

       ORDERED that the Motion is granted and any objections thereto are

 overruled; and it is further

       ORDERED Creditor F3 Metalworx, Inc., is allowed, and the Debtor Bed,

 Bath, and Beyond, Inc. shall pay to Creditor F3 Metalworx, Inc. $23,437 through

 October 2023 as a Post-Petition Administrative Expense, within five days of the

 entry of this Order; and it is further

       ORDERED that the Debtor Bed, Bath, and Beyond, Inc. shall pay to Creditor

 F3 Metalworx, Inc. $3,750 per month on the first day of each month beginning

 November 1, 2023 and going forward as an ordinary course Administrative Expense

 pending the Debtor’s assumption or rejection of the Debtor’s storage contract with

 F3 Metalworx, Inc., and it is further

       ORDERED that upon the Debtor’s assumption or rejection of the Debtor’s

 storage contract with F3 Metalworx, Inc., the parties shall comply with 11 U.S.C. §

 365, and it is further




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 Debtors: BED BATH & BEYOND INC., et al.
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 COURSE ADMINISTRATIVE EXPENSE
 __________________________________________________________________



       ORDERED that this Court shall retain jurisdiction to hear and determine all

 matters arising from the assumption or rejection of the Debtor’s storage contract

 with F3 Metalworx, Inc.




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       Exhibit B to 10.20.2023 DECLARATION OF MERRILL M. O'BRIEN
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 United States Bankruptcy Court
 District of New Jersey
 Bed Bath & Beyond, Inc.
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 Attachment to Proof of Claim filed by F3 Metalworx, Inc.

 The total of $2,243,558.77 includes accrued and unpaid storage charges of $88,304.00,
 pursuant to 11 U.S.C §503(b)(3)(E), which Debtor Bed Bath & Beyond, Inc. agreed to pay
 creditor F3 Metalworx, Inc.

 These storage fees continue to accrue, pursuant to 11 U.S.C §503(b)(3)(E), at the rate of
 $3,750/month.



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 United States Bankruptcy Court
 District of New Jersey
 Bed Bath & Beyond, Inc.
 Case No. 23-13359

 Attachment to 10/6/2023 Amended Proof of Claim filed by F3 Metalworx, Inc.

 The total of $2,254,808.77 includes accrued and unpaid storage charges of $99,554.00,
 through October 2023, for unpaid storage charges which continue to accrue at the rate of
 $3,750 per month. The Debtor has not rejected the F3 Metalworx, Inc./ Bed, Bath, &
 Beyond        Storage       Contract,     which       is      the      subject        of
 F3 Metalworx’s motion returnable October 24, 2023, Doc. 2309.

 This Amendment is filed as a protective measure due to the Debtor’s declaring the
 Effective Date to be 9/29/2023 in the Debtor’s Notice filed on 9/29/2023, Doc. 2311, which
 Notice indicates that administrative claims arising from executory contracts may have to
 be filed within 14 days of the Effective Date, depending on their nature. Again, F3’s
 executory contract with the Debtor continues, and F3 reserves all rights pursuant to that
 contract, including the right to file supplemental claims for administrative expenses going
 forward.
